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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 BRYAN J. PESTA,                                  )     Case No. 1:23-CV-00546
                                                  )
         Plaintiff,                               )
                                                  )     JUDGE DAN AARON POLSTER
         v.                                       )
                                                  )
 LAURA BLOOMBERG, et al.,                         )     JUDGMENT ENTRY
                                                  )
         Defendants.                              )
                                                  )



       For the reasons stated in the Court’s Opinion and Order and pursuant to

Fed. R. Civ. P. 58, the Court enters summary judgment in favor of Defendants and against

Plaintiff, Bryan Pesta, in the captioned case.

       IT IS SO ORDERED.

Dated: October 7, 2024
                                                      s/Dan Aaron Polster
                                                      United States District Judge




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